       Case 1:20-cv-01836-YK-LT Document 78 Filed 08/04/22 Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JEREMY BAILEY,                           :
    Plaintiff                            :
                                         :              No. 1:20-cv-1836
            v.                           :
                                         :              (Judge Kane)
LIEUTENANT YODER, et al.,                :
     Defendants                          :

                                     ORDER

      AND NOW, on this 4th day of August 2022, in accordance with the Memorandum issued

concurrently with this Order, IT IS ORDERED THAT:

      1.    Plaintiff’s motion for summary judgment (Doc. No. 51) is DENIED;

      2.    Defendants’ motion for summary judgment (Doc. No. 71) is GRANTED IN
            PART AND DENIED IN PART, as follows:

      3.    The motion is GRANTED with respect to Plaintiff’s due process and official
            capacity claims and with respect to any equal protection claims raised by
            Plaintiff’s complaint, and the motion is DENIED with respect to Plaintiff’s
            Eighth Amendment deliberate indifference claim; and

      4.    On or before September 4, 2022, the parties shall file a joint status report
            informing the Court whether they are amenable to having this case referred to the
            Court’s Prisoner Litigation Settlement Program.


                                                        s/ Yvette Kane
                                                        Yvette Kane, District Judge
                                                        United States District Court
                                                        Middle District of Pennsylvania
